
872 A.2d 1124 (2005)
Andrea D. WILKES, David H. Ehrenwerth and Charles K. Clark, as Trustees of the Mark E. and Myrna L. Mason Irrevocable Trust, Mark E. Mason and Myrna L. Mason
v.
PHOENIX HOME LIFE MUTUAL INSURANCE COMPANY, a Corporation and Balanced Equities, Inc., a Corporation
Petition of Phoenix Home Life Mutual Insurance Company, a Corporation.
Supreme Court of Pennsylvania.
April 12, 2005.

ORDER
PER CURIAM.
AND NOW, this 12th day of April 2005, the Petition for Allowance of Appeal in the above captioned matter is GRANTED, limited to the following issues:
Whether, and to what extent, the doctrine of res judicata bars respondents from bringing suit in Pennsylvania under the instant circumstances?
Even assuming that res judicata bars respondents' underlying causes of action, whether the notice of class action settlement received by respondents was constitutionally adequate to fix respondents' rights in light of their decision not to opt out of the out-of-state class action suit?
